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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


IN RE NATIONAL PRESCRIPTION
OPIATE LITIGATION                                      MDL No. 2804

This document relates to:                              Case No. 17-md-2804
Cleveland Bakers and Teamsters Health and
Welfare Fund v. Purdue Pharma L.P.,                    Hon. Dan Aaron Polster
No. 18-op-45432


                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 23, 2018, a copy of foregoing (1) Manufacturer Defendants’

Joint Motion to Dismiss the Amended Complaint and (2) Memorandum in Support of the

Manufacturer Defendants’ Joint Motion to Dismiss the Amended Complaint were filed

electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system

to all parties indicated on the electronic filing receipt. Parties may access this filing through the

Court’s system.



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